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 7
 8
 9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
12
13
      NEMAN BROTHERS & ASSOC.,                    Case Number:
14    INC., a California Corporation;
15                Plaintiff,                      PLAINTIFF’S COMPLAINT FOR:
16                   vs.                          1. COPYRIGHT INFRINGEMENT
                                                  2. VICARIOUS COPYRIGHT
17    INTERFOCUS, INC. d.b.a.                     INFRINGEMENT
      www.patpat.com, a Delaware                  3. CONTRIBUTORY COPYRIGHT
18                                                INFRINGEMENT
      Corporation; CAN WANG; an
19    individual; and DOES 1-10, inclusive,

20                Defendants.                     Jury Trial Demanded
21
22
23
24    Plaintiff NEMAN BROTHERS & ASSOC., INC. (“Plaintiff” or “NEMAN”) by
25    and through its undersigned attorneys, hereby prays to this honorable Court for
26    relief and remedy based on the following:
27
28                                   INTRODUCTION


                                                   1
                               FIRST AMENDED COMPLAINT FOR DAMAGES
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 1    Plaintiff creates, or purchases and obtains, exclusive rights to unique two-
 2    dimensional graphic artworks for use on textiles and garments, and those textiles
 3    and garments are transacted primarily in the fashion industry. Plaintiff owns these
 4    designs in exclusivity and makes sales of products bearing these designs for profit.
 5    Plaintiff’s business is predicated on its ownership of these designs and it spends a
 6    considerable amount of time and resources creating and obtaining top-quality,
 7    marketable and aesthetically-appealing designs. Customers of Plaintiff, including
 8    possibly DOE defendants named herein, take design samples with the
 9    understanding and agreement that they will only utilize Plaintiff to reproduce said
10    designs should they wish to do so, and will not seek to make unauthorized changes
11    to Plaintiff’s proprietary work to reproduce the same elsewhere, yet use those
12    designs in furtherance of their business in violation of both their contractual
13    agreement with Plaintiff and Plaintiff’s copyrights. No other party is authorized to
14    make sales of product bearing Plaintiff’s proprietary designs without express
15    permission from Plaintiff. This action is brought to recover damages for direct,
16    vicarious and contributory copyright infringement arising out of the
17    misappropriation of Plaintiff’s exclusive designs by the Defendants, and each of
18    them.
19
20                              JURISDICTION AND VENUE
21    1. This action arises under the Copyright Act of 1976, Title 17 U.S.C. § 101 et
22       seq.
23    2. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331, 1338(a)
24       and (b).
25    3. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and 1400(a)
26       in that this is the judicial district in which a substantial part of the acts and
27       omissions giving rise to the claims occurred.
28



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 1                                         PARTIES
 2    4. NEMAN BROTHERS & ASSOC., INC. (“Plaintiff”) is a corporation organized
 3       and existing under the laws of the State of California with its principal place of
 4       business in the County of Los Angeles, at 1525 S Broadway St., Los Angeles,
 5       CA 90015.
 6    5. Plaintiff is informed and believes and thereon alleges that Defendant
 7       INTERFOCUS, INC. (“INTERFOCUS”) is, and at all times herein mentioned
 8       was, a corporation organized and existing under the laws of the State of
 9       Delaware and doing business in California, with its principal place of business
10       at 650 Castro Street Ste. 120-458, Mountain View, CA 94041.
11    6. Plaintiff is informed and believes and thereon alleges that Defendant CAN
12       WANG is an individual who during the relevant times, as the principal of
13       INTERFOCUS, was personally involved in, control over and/or gave
14       instructions about, the infringing activities of INTERFOCUS described
15       hereinbelow at or around at 650 Castro Street Ste. 120-458, Mountain View,
16       CA 94041.
17    7. Plaintiff is informed and believes and thereon alleges that Defendant CAN
18       WANG (“WANG”) is, and at all times herein mentioned was, a corporation
19       organized and existing under the laws of the State of Delaware and doing
20       business in California, with its principal place of business at 650 Castro Street
21       Ste. 120-458, Mountain View, CA 94041.
22    8. Named Defendants, and Does 1-10, may be collectively referred to as
23       “Defendants.”
24    9. Plaintiff is informed and believes and thereon alleges that some of Defendants
25       Does 1 through 3, inclusive, are manufacturers and/or vendors of garments to
26       Defendant, which DOE Defendants have manufactured and/or supplied and are
27       manufacturing and/or supplying garments comprised of fabric printed with the
28       infringing print design(s) (as hereinafter defined) without Plaintiff’s knowledge


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 1       or consent or have contributed to said infringement. Plaintiff is informed and
 2       believes and thereon alleges that some of Defendants Does 4 through 6 are
 3       INFTERFOCUS’ agents, employees, representatives or contractors who
 4       willfully and constantly attempted and did access and monitor others’ designs,
 5       especially the ones in the jobber market in Los Angeles, including the
 6       Plaintiff’s designs for the purpose of copying the designs, in the guise of market
 7       trend research. The true names, whether corporate, individual or otherwise, and
 8       capacities of defendants sued herein as Does 1 through 3 are presently unknown
 9       to Plaintiff at this time, and therefore, Plaintiff sues said defendants by such
10       fictitious names. Plaintiff will seek leave to amend this complaint to allege their
11       true names and capacities when the same have been ascertained. Plaintiff is
12       informed and believes, and based thereon alleges, that each of defendants
13       designated as a DOE is responsible in some manner for the events alleged
14       herein and the damages caused thereby.
15    10. Defendants DOES 7 through 10, inclusive, are other parties not yet identified
16       who have infringed Plaintiff’s copyrights, have contributed to the infringement
17       of Plaintiff’s copyrights, or have engaged in one or more of the wrongful
18       practices alleged herein. The true names, whether corporate, individual or
19       otherwise, and capacities of defendants sued herein as Does 4 through 10 are
20       presently unknown to Plaintiff at this time, and therefore, Plaintiff sues said
21       defendants by such fictitious names. Plaintiff will seek leave to amend this
22       complaint to allege their true names and capacities when the same have been
23       ascertained.
24    11. Plaintiff is informed and believes and thereupon alleges that at all times
25       relevant hereto each of Defendants acted in concert with each other, was the
26       agent, affiliate, officer, director, manager, principal, alter-ego, and/or employee
27       of the remaining defendants and was at all times acting within the scope of such
28       agency, affiliation, alter-ego relationship and/or employment; and actively


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 1          participated in or subsequently rarified and adopted, or both, each and all of the
 2          acts or conducts alleged, with full knowledge of all the facts and circumstances,
 3          including without limitation to full knowledge of each and every wrongful
 4          conducts and Plaintiff’s damages caused therefrom.
 5
 6                               CLAIMS RELATED TO DESIGN
 7    12. Plaintiff is the owner and author of a two-dimensional artwork called
 8          NB170268 under the title of work 2017 FEBRURY ARTWORK. (“Subject
 9          Design 1”) (Exhibit 1).
10    13. Plaintiff applied for a copyright from the United States Copyright Office for
11          NB170268 and was granted Registration VAu 1-317-742 effective on March 3,
12          2027. (Exhibit 1).
13    14. Plaintiff is the owner and author of a two-dimensional artwork called
14          NB161106 under the title of work, 2016 DECEMBER ARTWORKS. (Subject
15          Design 2”) (Exhibit 3).
16    15. Plaintiff applied for a copyright from the United States Copyright Office for
17          NB161106 and was granted Registration VAu 1-304-334 effective on January
18          13, 2017. (Exhibit 3).
19    16. Plaintiff is the owner and author of a two-dimensional artwork called
20          NB161106 under the title of work, 2016 DECEMBER ARTWORKS. (Subject
21          Design 3”) (Exhibit 3).
22    17. Plaintiff applied for a copyright from the United States Copyright Office for
23          NB161106 and was granted Registration VAu 1-304-334 effective on January
24          13, 2017. (Exhibit 3).
25    18.
26    19. Plaintiff is informed and believes and thereon alleges that Defendants, each of
27          them, had access to the Subject Designs, including without limitation, through:
28          (a) access to Plaintiff’s showroom and/or design library; (b) access to illegally


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                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1       distributed copies of the Subject Designs by third-party vendors and/or DOE
 2       Defendants, including without limitation international and/or overseas
 3       converters and printing mills; (c) access to Plaintiff’s strike-offs and samples;
 4       and (d) access to garments and their photos uploaded on the online
 5       marketplaces and/or Plaintiff’s customers’ or their customers’ website,
 6       manufactured with lawfully printed fabric bearing the Subject Designs.
 7    20. Plaintiff is informed and believes and thereon alleges that, without Plaintiff’s
 8       authorization, Defendant INTERFOCUS purchased, sold, marketed, advertised,
 9       manufactured, caused to be manufactured, imported and/or distributed fabric
10       and/or garments comprised of fabric featuring a design which is identical, or
11       substantially similar to, the Subject Designs. A true and correct copy of such
12       garments copying the Subject Designs is attached as such:
13              a. A true and correct copy of garments infringing upon NB170268 is
14                  attached hereto as Exhibit 2.
15              b. A true and correct copy of garments infringing upon NB161106 is
16                  attached hereto as Exhibits 4 and 5.
17    21. These garments are in fact virtually the same garments Defendant had already
18       been sued for in a prior action (Neman Brother & Associates, Inc. v. Interfocus,
19       Inc. (Case No. 2:29-cv-10112)) for the infringements upon the exact same
20       Subject Designs specified above. Exhibits 6 and 7, which shows INTERFOCUS
21       either knowingly sold, or recklessly disregarded the copyrights infringement
22       issues in selling, the ACCUSED GARMENTS shown in Exhibits 2, 4 and 5
23       bearing the same printing patterns about which it had been sued by Plaintiff
24       already.
25    22. Said garments include but are not limited to garments sold by INTERFOCUS
26       bearing the label “InterFocus Inc.”.
27    23. At various times Defendant INTERFOCUS owned and controlled offline and/or
28       online retail stores, and each, Plaintiff’s investigation revealed that garments


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                                FIRST AMENDED COMPLAINT FOR DAMAGES
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 1       comprised of fabric bearing the Subject Design were being offered for sale,
 2       garments which were manufactured and/or imported under the direction of the
 3       Defendants, and each of them.
 4    24. Such stores include Defendant INTERFOCUS’ website, patpat.com, owned and
 5       operated by INTERFOCUS as their primary online retailer and registered
 6       trademark. Included in Exhibits 2, 4 and 5 are a true and correct copy of website
 7       printouts from patpat.com.
 8    25. In addition, INTERFOCUS sold again another ACCUSED GARMENTS
 9       bearing Plaintiff’s design NB180228x2 (“SUBJECT DESIGN 3) registered
10       under Registration Number VAu1-330-970 as of April 30, 2018, a copy of the
11       design and the registration certificate are attached hereto as Exhibit 8. The said
12       garments pictures are also attached hereto as Exhibit 9.
13    26. The series of infringements by INTERFOCUS described above clearly show
14       INTERFOCUS willfully infringed Plaintiff’s designs.
15    27. None of the aforementioned transactions were authorized by Plaintiff, and all
16       were in violation of Plaintiff’s intellectual property rights.
17
18                              FIRST CLAIM FOR RELIEF
19             (For Copyright Infringement – Against all Defendants, and Each)
20    28. Plaintiff repeats, re-alleges and incorporates herein by reference as though fully
21       set forth the allegations contained in Paragraphs 1 through 30, inclusive, of this
22       Complaint.
23    29. Plaintiff is informed and believes and thereon alleges that Defendants, and each
24       of them, accessed the Subject Design through, without limitation, the following:
25       (a) access to Plaintiff’s design library; (b) access to authorized or unauthorized
26       reproductions in the possession of other vendors and/or DOE Defendants; and
27       (c) access to Plaintiff’s strike-offs, swatches, paper CADs and samples.
28



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                               FIRST AMENDED COMPLAINT FOR DAMAGES
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 1    30. Plaintiff is informed and believes and thereon alleges that Defendants, and each
 2       of them, infringed Plaintiff’s copyright by importing, creating, marketing,
 3       advertising, making, and/or developing directly infringing and/or derivative
 4       works from the Subject Design and by importing, producing, distributing and/or
 5       selling infringing garments through a nationwide network of retail stores,
 6       catalogues, and online websites.
 7    31. Due to Defendants’ acts of infringement, Plaintiff has suffered substantial
 8       damages to its business in an amount to be established at trial.
 9    32. Due to Defendants’ acts of infringement, Plaintiff has suffered general and
10       special damages to its business in an amount to be established at trial.
11    33. Due to Defendants’ acts of copyright infringement as alleged herein,
12       Defendants, and each of them, have obtained direct and indirect profits they
13       would not otherwise have realized but for their infringement of the Subject
14       Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
15       directly and indirectly attributable to Defendants’ infringement of the Subject
16       Design in an amount to be established at trial.
17    34. Plaintiff is informed and believes and thereon alleges that Defendants, and each
18       of them, have committed acts of infringement alleged herein with actual or
19       constructive knowledge of Plaintiff’s rights such that Plaintiff is entitled to a
20       finding of willful infringement.
21
22                             SECOND CLAIM FOR RELIEF
23             (For Vicarious Copyright Infringement – Against All Defendants)
24    35. Plaintiff repeats, re-alleges and incorporates herein by reference as though fully
25       set forth the allegations contained herein, inclusive, of this Complaint.
26    36. Plaintiff is informed and believes and thereon alleges that Defendants, and each
27       of them, knowingly induced, participated in, aided and abetted in and
28       resultantly profited from the illegal reproduction, importation, purchase,


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                               FIRST AMENDED COMPLAINT FOR DAMAGES
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 1       marketing, advertisement, distribution and/or sales of product featuring the
 2       Subject Design as alleged herein above.
 3    37. Plaintiff is informed and believes and thereon alleges that Defendants, and each
 4       of them, are vicariously liable for the infringement alleged herein because they
 5       had the right and ability to supervise the infringing conduct and because they
 6       had a direct financial interest in the infringing product.
 7    38. By reason of the Defendants’, and each of their, acts of contributory and/or
 8       vicarious infringement as alleged above, Plaintiff has suffered and will continue
 9       to suffer substantial damages to its business in an amount to be established at
10       trial, as well as additional general and special damages in an amount to be
11       established at trial.
12    39. Due to Defendants’ acts of contributory and/or vicarious copyright infringement
13       as alleged herein, Defendants, and each of them, have obtained direct and
14       indirect profits they would have not otherwise realized but for their
15       infringement of the Subject Design. As such, Plaintiff is entitled to
16       disgorgement of Defendants’ profits directly and indirectly attributable to
17       Defendants’ infringement of the Subject Design, an amount to be established at
18       trial.
19    40. Plaintiff is informed and believes and thereon alleges that Defendants, and each
20       of them, have committed acts of infringement alleged herein with actual or
21       constructive knowledge of Plaintiff’s rights such that Plaintiff is entitled to a
22       finding of willful infringement.
23
24                                 THIRD CLAIM FOR RELIEF
25                (Contributory Copyright Infringement– Against All Defendants)
26    41. Plaintiff repeats, re-alleges and incorporates herein by reference as though fully
27       set forth the allegations contained hereforeto, inclusive, of this Complaint.
28



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                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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 1     42. Plaintiff is informed and believes and thereon alleges that Defendants, and each
 2        of them, knowingly induced, caused, materially contributed to, participated in,
 3        encourages, aided and abetted in and resultantly profited from the illegal
 4        reproduction, importation, purchase, marketing, advertising, distribution and/or
 5        sales of product featuring the Subject Design as alleged herein above.
 6     43. By reason of the Defendants’, and each of their, acts of contributory copyright
 7        infringement as alleged above, Plaintiff has suffered and will continue to suffer
 8        substantial damages to its business in an amount to established at trial, as well
 9        as additional general and special damages in an amount to be established at trial.
10     44. Due to Defendants’ acts of contributory copyright infringement as alleged
11        herein, Defendants, and each of them, have obtained direct and indirect profits
12        they would have not otherwise realized bur for their infringement of the Subject
13        Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
14        directly and indirectly attributable to Defendants’ infringement of the Subject
15        Design, an amount to be established at trial.
16     45. Plaintiff is informed and believes and thereon alleges that Defendants, and each
17        of them, have committed acts of infringement alleged herein with actual or
18        constructive knowledge of Plaintiff’s rights such that Plaintiff is entitled to a
19        finding of willful infringement.
20
21                                  PRAYER FOR RELIEF
22     WHEREFORE, Plaintiff prays for judgment against all Defendants as follows:
23
24                                   Against All Defendants
25     With respect to Each Claim for Relief:
26     1. That Defendants, their agents and servants be enjoined from infringing
27        Plaintiff’s copyrights in any manner;
28     2. That Plaintiff be awarded all profits of Defendants plus all losses of Plaintiff,


                                                   10
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 1        the exact sum to be proven at time of trial, or, if elected before final judgment,
 2        statutory damages as available under the Copyright Act, 17 U.S.C. § 101 et
 3        seq.;
 4     3. That Plaintiff be awarded its attorneys’ fees as available under the Copyright
 5        Act, 17 U.S.C. § 101 et seq.;
 6     4. That Plaintiff be awarded pre-judgment interest as allowed by law;
 7     5. That Plaintiff be awarded costs of litigation; and
 8     6. That Plaintiff be awarded such further legal and equitable relief as the Court
 9        deems proper.
10
11                              DEMAND FOR TRIAL BY JURY
12     Plaintiff hereby demands a trial by jury in this action pursuant to Federal Rule of
13     Civil Procedure 38 and the Seventh Amendment of the Constitution.
14
15
16
17
18     Dated: January 4, 2021                 Respectfully submitted,
19
                                              /s/ Chan Yong Jeong
20                                            Chan Yong Jeong, Esq.
21                                            Attorneys for Plaintiff
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                                FIRST AMENDED COMPLAINT FOR DAMAGES
